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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                                                 CASE NO.


  ALBA HERRERA, on behalf of herself
  and others similarly situated,

            Plaintiff,

            v.

  INTERMEX WIRE TRANSFER, LLC,
  a Florida Limited Liability Company,

        Defendant.
  ____________________________________/

                                               COMPLAINT

            1.      Plaintiff, ALBA HERRERA (hereinafter referred to as “Plaintiff” and

  “HERRERA”), is an individual residing in Miami-Dade County, Florida.

            2.      Defendant, INTERMEX WIRE TRANSFER, LLC, a Florida Limited Liability

  Company, has at all times material to this Complaint owned and/or operated offices including at

  9480 South Dixie Highway, Miami, Florida 33156 in Miami-Dade County, Florida, within the

  jurisdiction of this Court.

            3.      Plaintiff brings this action on behalf of herself 1 and other current and former

  employees of Defendant similarly situated to her as “Area Sales Representatives,” a/k/a Inside

  Sales Representatives, however variously titled, for overtime compensation and other relief under

  the Fair Labor Standards Act (“FLSA”), as amended, 29 U.S.C. §216(b). More specifically, this

  action is brought to recover from Defendant unpaid overtime compensation, liquidated damages,

  and the costs and reasonable attorneys’ fees of this action under the provisions of the FLSA, 29


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      Attached hereto is a signed Consent to Join from Plaintiff HERRERA.


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  U.S.C. §216(b), for Plaintiff and the other employees of Defendant similarly situated to her.

         4.      Defendant, INTERMEX WIRE TRANSFER, LLC, has at all times material to this

  Complaint owned and/or operated a business specializing in the processing of money transfer

  services in the United States to Latin America and the Caribbean with a network of more than

  100,000 payer locations across Fifty (50) States throughout the U.S., Washington, D.C., Puerto

  Rico, Seventeen (17) Latin American countries, and Four (4) African countries. It is the intent of

  this collective action to apply to all similarly situated non-exempt “Area Sales Representatives,”

  a/k/a Inside Sales Representatives, of Defendant, however variously titled, regardless of location.

         5.      Jurisdiction is conferred on this Court by 29 U.S.C. §216(b) and 28 U.S.C. §1337.

         6.      All of the events, or a substantial part of the events, giving rise to this action,

  occurred within the jurisdiction of the United States District Court for the Southern District of

  Florida.

         7.      At all times material to this Complaint, including but not necessarily limited to

  during the years 2017, 2018, 2019, and 2020, Defendant, INTERMEX WIRE TRANSFER, LLC,

  has had two (2) or more employees who have regularly sold, handled, or otherwise worked on

  goods and/or materials that had been moved in or produced for commerce. In this regard, Plaintiff

  alleges based upon information and belief and subject to discovery, that at all times material to this

  Complaint, INTERMEX WIRE TRANSFER, LLC, has employed two (2) or more employees

  who, inter alia, who have: (a) regularly processed money transfers through in person, telephone

  based, and online (over the Internet) transactions for customers across the United States and

  to/from locations outside of Florida that have included but not been limited to more than Fifty (50)

  states across the U.S., Washington, D.C., Puerto Rico, and Seventeen (17) Latin American

  countries including Mexico, Guatemala, Honduras, El Salvador, Nicaragua, Costa Rica, Panama,




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  Dominican Republic, Colombia, Ecuador, Peru, Bolivia, Chile, Brazil, Argentina, Paraguay, and

  Uruguay, as well as Four (4) African countries including Nigeria, Kenya, Ethiopia, and Ghana; (b)

  regularly handled and worked on office equipment—including but not limited to computers,

  photocopier/scanner, printers, telephones—that were goods and/or materials moved in or produced

  for commerce; and (c) regularly handled and worked with commercial office supplies—including

  but not limited to paper, pens, staples, and folders—that were goods and/or materials moved in or

  produced for commerce.

         8.      Based upon information and belief, the annual gross sales volume of Defendant,

  INTERMEX WIRE TRANSFER, LLC, has been in excess of $500,000.00 per annum at all times

  material to this Complaint, including but not necessarily limited to during the years 2017, 2018,

  2019, and 2020.

         9.      At all times material to this Complaint, including but not necessarily limited to

  during the years 2017, 2018, 2019, and 2020, Defendant, INTERMEX WIRE TRANSFER, LLC,

  has constituted an enterprise engaged in interstate commerce or in the production of goods for

  commerce as defined by the FLSA, 29 U.S.C. §203(s).

         10.     Based upon information and belief, more than twenty-five percent (25%) of

  Defendant, INTERMEX WIRE TRANSFER, LLC’s, annual dollar volume of sales of goods and

  services in the years, 2017, 2018, 2019, and/or 2020 have been sales for resale, such that Defendant

  is not a “retail or service establishment” establishment within the meaning of the FLSA, 29 C.F.R.

  §779.313 & §779.331.

         11.     Further based upon information and belief, during numerous work weeks within

  the three (3) year statute of limitations period between February 2017 and the present, the

  applicable regular rate(s) of pay of Plaintiff and the other similarly situated non-exempt “Area




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  Sales Representatives,” a/k/a Inside Sales Representatives, of Defendant did not exceed one and

  one-half times the applicable minimum wage for every hour worked in all workweeks in which

  overtime hours were worked and less than half of the total earnings in a “representative period” of

  Plaintiff and the other similarly situated Inside Sales Representatives was comprised of

  commissions.

          12.     In multiple work weeks during the three (3) year statute of limitations period

  between approximately June 2019 and January 2020, Plaintiff worked for Defendant as a non-

  exempt “Area Sales Representative,” a/k/a Inside Sales Representative, at Defendant’s call center

  located at offices including at 9480 South Dixie Highway, Miami, Florida 33156, within the

  jurisdiction of this Court.

          13.     Plaintiff’s primary job duties for Defendant as a non-exempt “Area Sales

  Representative,” a/k/a Inside Sales Representative, during the three (3) year statute of limitations

  period between approximately June 2019 and January 2020 consisted of making telemarketing

  sales calls to try and create and/or increase the sales of INTERMEX WIRE TRANSFER, LLC’s

  wire transfers and other products to generate revenue for Defendant which entailed, inter alia,

  Defendant’s requirement that Plaintiff process an average of at least One Hundred and Forty-Four

  (144) sales calls per day inbound/outbound with a minimum of Forty (40) outbound “contact calls”

  each day.

          14.     The additional persons who may become Plaintiffs in this action are INTERMEX

  WIRE TRANSFER, LLC’s current and former non-exempt “Area Sales Representatives,” a/k/a

  Inside Sales Representatives, however variously titled, who have worked for Defendant in one or

  more weeks between February 2017 and the present without being paid time and one-half wages

  for all of their actual hours worked in excess of Forty (40) hours per week for Defendant.




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         15.     Plaintiff regularly worked in excess of Forty (40) hours per week in one or more

  work weeks during her employment with INTERMEX WIRE TRANSFER, LLC within the three

  (3) year statute of limitations period between approximately June 2019 and January 2020.

         16.     More specifically, in numerous work weeks during the three (3) year statute of

  limitations period between approximately June 2019 and January 2020, Plaintiff regularly worked

  an average of approximately Five (5) days per week for INTERMEX WIRE TRANSFER, LLC

  with start times of approximately 11:00 a.m. and stop times of approximately 9:00 p.m., except

  Sundays when Plaintiff typically stopped working at approximately 8:00 p.m., averaging between

  approximately Forty-Four (44) and Fifty-Five (55) hours per week.

         17.     During the three (3) year statute of limitations period between approximately June

  2019 and January 2020, INTERMEX WIRE TRANSFER, LLC paid Plaintiff base rates of

  $12.02/hour and $14.42/hour—plus commissions in some work weeks—with average gross

  weekly wages of approximately $764.41/week followed by $860.56/week, but Defendant failed to

  compensate Plaintiff at a rate of time and one-half of her applicable regular rates of pay (inclusive

  of commissions) for all of Plaintiff’s actual overtime hours worked during each week in which

  Plaintiff worked overtime hours within the three (3) year statute of limitations period.

         18.     Subject to discovery of the complete compensation records in INTERMEX WIRE

  TRANSFER, LLC’s possession, based upon Plaintiff being owed an average of Fifteen (15)

  overtime hours per week from Defendant during a total of approximately Eight (8) work weeks

  and an average of Four (4) overtime hours during a total of approximately Twenty-(24) work

  weeks within the three (3) year statute of limitations period between approximately June 2019 and

  January 2020, if Plaintiff’s unpaid overtime wages are found to be due and owing at the rates of

  $28.67/hour and $32.27/hour, Plaintiff’s unpaid overtime wages total approximately $6,754.19




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  [(15 OT hours/week x $28.67/hour x 4 weeks = $1,719.92) + (15 OT hours/week x $32.27/hour x

  4 weeks = $1,9236.26) + (4 OT hours/week x $32.27/hour x 24 weeks = $3,098.02) = $6,754.19].

         19.     Likewise, the other employees of Defendant who are similarly situated to Plaintiff

  have regularly worked as “Area Sales Representatives,” a/k/a Inside Sales Representatives,

  however, variously titled, in excess of Forty (40) hours in one or more work weeks during their

  employment with INTERMEX WIRE TRANSFER, LLC within the three (3) year statute of

  limitations period between February 2017 and the present.

         20.     Based upon information and belief and the court records reflecting prior FLSA

  litigation brought against INTERMEX WIRE TRANSFER, LLC, at all times material to this

  Complaint, Defendant has failed to time and one-half wages for all of the actual overtime hours

  worked by Plaintiff and the other similarly situated “Area Sales Representatives,” a/k/a Inside

  Sales Representatives, for all of their actual overtime hours worked within the three (3) year statute

  of limitations period. Instead, in numerous work weeks between February 2017 and the present,

  Defendant has not complied with the requirements of the FLSA by, inter alia: (a) failing to

  maintain accurate time records of the actual start times, actual stop times, and actual total hours

  worked each week by Plaintiff and other similarly situated non-exempt “Area Sales

  Representatives,” a/k/a Inside Sales Representatives, however variously titled; and (b) failing to

  pay all of the overtime compensation required by the FLSA for all of the actual hours worked in

  excess of Forty (40) hours per week by Plaintiff and other similarly situated non-exempt “Area

  Sales Representatives,” a/k/a Inside Sales Representatives, however variously titled.

         21.     Based upon information and belief, INTERMEX WIRE TRANSFER, LLC has

  failed to maintain contemporaneous and accurate records of the all of the actual start times, stop

  times, number of hours worked each day, and total hours actually worked each week by Plaintiff




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  and other “Area Sales Representatives,” a/k/a Inside Sales Representatives, however variously

  titled, during each week between approximately February 2017 and the present as required by the

  FLSA, 29 C.F.R. §516.2(a)(7).

         22.     Based upon information and belief, INTERMEX WIRE TRANSFER, LLC had

  knowledge of the hours worked in excess of Forty (40) hours per week by Plaintiff and the other

  similarly situated non-exempt “Area Sales Representatives,” a/k/a Inside Sales Representatives,

  for the benefit of Defendant between February 2017 and the present, but Defendant nonetheless

  willfully failed to compensate Plaintiff and the other similarly situated Inside Sales

  Representatives, instead accepting the benefits of the work performed by Plaintiff and other

  employees without all of the overtime compensation required by the FLSA.

         23.     The complete records reflecting the base wages and commissions actually paid by

  INTERMEX WIRE TRANSFER, LLC to Plaintiff and the other similarly situated “Area Sales

  Representatives,” a/k/a Inside Sales Representatives, between February 2017 and the present are

  in the possession, custody, and/or control of Defendant.

                                 COUNT I
           OVERTIME VIOLATIONS OF THE FAIR LABOR STANDARDS ACT

         24.     Plaintiff, ALBA HERRERA, readopts and realleges the allegations contained in

  Paragraphs 1 through 23 above.

         25.     Plaintiff is entitled to be paid time and one-half of her applicable regular rates of

  pay for each hour she worked for INTERMEX WIRE TRANSFER, LLC in excess of Forty (40)

  hours per work week during the three (3) year statute of limitations period between approximately

  June 2019 and January 2020.

         26.     All similarly situated “Area Sales Representatives,” a/k/a Inside Sales

  Representatives, of INTERMEX WIRE TRANSFER, LLC are also entitled to be paid time and



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  one-half of their applicable regular rates of pay for each and every overtime hour they worked for

  Defendant but were not properly compensated for working for Defendant during any work weeks

  within the three (3) year statute of limitations period between February 2017 and the present.

         27.     INTERMEX WIRE TRANSFER, LLC has knowingly and willfully failed to pay

  Plaintiff and the other “Area Sales Representatives,” a/k/a Inside Sales Representatives, similarly

  situated to her at time and one-half of their applicable regular rates of pay for all hours worked for

  Defendant in excess of Forty (40) per week between February 2017 and the present.

         28.     At all times material to this Complaint, INTERMEX WIRE TRANSFER, LLC had

  constructive and/or actual notice that Defendant’s compensation practices did not provide Plaintiff

  and the other non-exempt “Area Sales Representatives,” a/k/a Inside Sales Representatives, with

  time and one-half wages for all of their actual overtime hours worked between February 2017 and

  the present based upon, inter alia: (a) other Inside Sales Representatives having previously

  brought claims for unpaid overtime wages under the FLSA against Defendant on multiple

  occasions; and (b) Defendant knowingly failing to pay all of the overtime compensation required

  by the FLSA for all of the actual hours worked in excess of Forty (40) hours per week by Plaintiff

  and other similarly situated non-exempt “Area Sales Representatives,” a/k/a Inside Sales

  Representatives, however variously titled.

         29.     By reason of the said intentional, willful and unlawful acts of INTERMEX WIRE

  TRANSFER, LLC, all Plaintiffs (the named Plaintiff and those “Area Sales Representatives,” a/k/a

  Inside Sales Representatives, similarly situated to her who have worked for Defendant between

  February 2017 and the present) have suffered damages plus incurring costs and reasonable

  attorneys’ fees.




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         30.     INTERMEX WIRE TRANSFER, LLC did not have a good faith basis for its failure

  to pay time and one-half wages for all of the actual hours worked by Plaintiff and the other

  similarly situated employees in one or more weeks during the three (3) year statute of limitations

  period between February 2017 and the present, as a result of which Plaintiff and those “Area Sales

  Representatives,” a/k/a Inside Sales Representatives, similarly situated to Plaintiff are entitled to

  the recovery of liquidated damages from Defendant pursuant to 29 U.S.C. §216(b).

         31.     Plaintiff has retained the undersigned counsel to represent her in this action, and

  pursuant to 29 U.S.C. §216(b), Plaintiff is entitled to recover from INTERMEX WIRE

  TRANSFER, LLC all reasonable attorneys’ fees and costs incurred as a result of Defendant’s

  violations of the FLSA.

         32.     Plaintiff demands a jury trial.

         WHEREFORE, Plaintiff, ALBA HERRERA, and any current or former employees

  similarly situated to her who join this action as Opt-In Plaintiffs, demand judgment against

  Defendant, INTERMEX WIRE TRANSFER, LLC, for the payment of all unpaid overtime

  compensation, liquidated damages, reasonable attorneys’ fees and costs of suit, and for all proper

  relief including prejudgment interest.

                                      JURY TRIAL DEMAND

         Plaintiff demands trial by jury on all issues so triable.


  Dated: February 13, 2020                         Respectfully submitted,

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